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                        UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA, THE
 STATES OF ALASKA, CALIFORNIA,
 COLORADO, CONNECTICUT,
 DELAWARE, THE DISTRICT OF                               Civil Action No. 18-12558
 COLUMBIA, FLORIDA, GEORGIA,
 HAWAII, ILLINOIS, INDIANA, IOWA,
 LOUISIANA, MARYLAND,
 MASSACHUSETTS, MICHIGAN,
 MINNESOTA, MONTANA, NEVADA, NEW
 JERSEY, NEW MEXICO, NEW YORK,
 NORTH CAROLINA, OKLAHOMA,
 RHODE ISLAND, TENNESSEE, TEXAS,
 VERMONT, VIRGINIA, AND
 WASHINGTON, EX REL. OMNI
 HEALTHCARE, INC.,

                          Plaintiffs,

          v.

 MD SPINE SOLUTIONS LLC, D/B/A MD
 LABS INC. AND DOE HEALTHCARE
 PROVIDERS 1 - 100,

                          Defendants.


    DEFENDANTS’ MOTION TO DISMISS RELATOR’S AMENDED COMPLAINT

       Pursuant to Rules 8, 9(b), and 12(b)(6) of the Federal Rules of Civil Procedure (“FRCP”),

defendants MD Spine Solutions LLC, d/b/a MD Labs, Inc. (“MD Labs”), Denis Grizelj, and

Matthew Rutledge (collectively, “MD Labs & Owners”), respectfully submit this motion to

dismiss the amended complaint filed by the Relator, Omni Spine Solutions LLC (the “relator” or

“Omni”) for failure to state a claim upon which relief may be granted. For the reasons set forth

in the accompanying memorandum of law, the relator’s amended qui tam complaint fails to state

a claim with the requisite particularity required by the controlling case law in this Circuit. Also,
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to the extent that it alleges conduct occurring more than six years prior to this action being filed,

the relator’s claims are time-barred. In addition, the relator’s state-law claims are derivative of

its federal claim and should be dismissed with prejudice as well. Accordingly, this motion

should be granted, and the complaint should be dismissed with prejudice.

                                              Respectfully submitted,

                                              By: s/Alexander O. Canizares

 May 18, 2022                                  Alexander O. Canizares (admitted pro hac vice)
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                                               Attorneys for Defendants MD Spine
                                               Solutions LLC, d/b/a MD Labs Inc., Denis
                                               Grizelj, and Matthew Rutledge




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2022, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send notification of such filing to all registered

participants identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to

those indicated as non-registered participants on this date.


Dated: May 18, 2022                                s/ Alexander O. Canizares
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